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EXHIBIT 7
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2 Email, Herrick to DeMars and Shields,
eee ehtiR 4/18/17, DHO011253-54 46
vs. 3 Email, Gunnell and Herrick and DeMars,
DARTMOUTH-HITCHCOCK MEDICAL CENTER,
DARTMOUTH-HITCHCOCK CLINIC, 4/19/17, DH0009582 : 52
MARY HITCHCOCK MEMORIAL HOSPITAL, 4 Email, Gunnell and Herrick and DeMars,
and DARTMOUTH-HITCHCOCK HEALTH, 4 /2 1 /1 q DH0009 57: 4 6 3
Defendants. 5 Email, Gunnell and Herrick and DeMars,
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2 4
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Plaintif Misty Blanchette Porter, MD. ° DH0010594-96 109
Katherine Burghardt Kramer, Esquire 14 Email, Herrick to Merrens, 5/12/17
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itt Huntington Avenue, Suite 2500 16 Email, DeMars to Strohbehn, et al,
Boston, M: husetts, 02199-7610, on behalf of
the Defendants, Darimouth-Hitcheock Medical” 6/14/17, DH0009476-78 131
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13 15
1 A. We made that recommendation to Ed Merrens. 1 wouldn't have filtered to you?
2 Q Who made the decision to stop or close the REI 2 A Yes. That's true.
3 Division? 3 Q_ Why was her employment terminated?
4 A [strongly advocated for it and asked permission 4 A She was terminated along with the closure of the
5 to do it. I guess the question, that's a hard 5 REI program.
6 question to answer in an organization. I mean, 6 Q__ So because she was in the program and because
7 I guess the higher up, had to be a higher up so 7 the program was closed, therefore her employment
8 it was approved by Ed Merrens. 8 was terminated?
9 Q Did it go to the CEO? 9 A __ That's correct.
10 A I don't believe that the decision went to the 10 Q_ Anything else?
11 CEO. I believe it was made by Ed Merrens who at 11 A No.
12 the time I believe was the Chief Clinical 12 Q~ How long have you been working at
13 Officer. 13 Dartmouth-Hitchcock?
14 Q Do you know if it went to the Board? 14 A Eight and a half years.
15 A I do not know that it went to the Board, no. 15 Q __ During that period of time, has
16 Q_ Why was the decision made to close the division? 16 Dartmouth-Hitchcock closed any division or group
17 A __ I think that was pretty straightforward. It was 17 of the size of the REI Division?
18 marginally profitable. It was at that time 18 A I'm not aware of, that we have.
19 totally dysfunctional. We were unable to 19 Q You'd probably be aware if it had occurred,
20 sustain staff to run the operation. Patients 20 right?
21 were not getting the care that they deserved, 21 ‘A [fit were within my purview. 10,000 people
22 and we were not able to provide care that was to 22 work there. I'm not privy to everything.
23 the reputation of Dartmouth-Hitchcock. 23 Q [don't think you were, but I mean if a division
24 Q_ Anything else? 24 had been closed in the 8 and a half years that
25 A No. 25 you worked there, don't you think you would know
14 16
1 Q_ InApril of 2017, the physicians in the REI 1 about that?
2 Division were David Seifer, Albert Hsu, 2 A I might have. I don't know. I mean, it's
3 Dr. Misty Porter, and Judy McBean was ona per 3 possible that I, it could have closed and I
4 diem basis. Do you know of any others? 4 would not know about it.
5 A Ido not. 5 Q Okay. But to the best of your knowledge, no
6 Q_ So Dr. Seifer and Dr. Hsu were both fairly new 6 other division had been closed, right?
7 employees, correct? 7 A To the best of my knowledge, that's correct.
8 A Fairly new meaning? 8 Q_ At the time that the division was closed, was
9 Q Couple years max? 9 there a demand for the services that the REI
10 A Yeah, within three years. 10 Division provided?
11 Q_ Okay. Dr. Porter was also terminated, correct? 11 A Yes.
12 A The entire program was shuttered so all of the 12 Q Had the division had a long history of exemplary
13 providers were terminated. 13 service for women not only in the area but
14 Q_ So she had been there for 21 years. Was there 14 throughout northern New England?
15 any question about her competence as a 15 A I don't know what "exemplary" means. I mean --
16 physician? 16 MR. SCHROEDER: Objection. Calls for
17 A Asa physician, I don't believe so. Not that 17 speculation.
18 I'm aware of. 18 Q You don't know what "exemplary" means?
19 Q Do you think you would have been aware of it if 19 A Not in your terms. So, as I said, we recognized
20 there were concerns? 20 that the REI program was not able to continue to
21 A Not necessarily, no. I'm an administrative vice 21 provide the level of care that is up to the
22 president so I would only be involved 22 reputation of the standards of
23 tangentially. 23 Dartmouth-Hitchcock which is one of the reasons
24 Q Do you think that if there were concerns about 24 that we closed it.
25 her competence, there's a possibility that 25 Q_ Okay. I was asking you about the history of the

4 (Pages 13 to 16)

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121 123
1 A Not always. 1 A That another Chair would be more effective than
2 (Exhibit 14 marked for identification) 2 her.
3 Q__ Ishow you what's been marked Exhibit 14. 3 Q_ Okay. In the next sentence you say, "Based on
4 Have you read it? 4 my observations and interactions, Misty has been
5 A I've read it. 5 the biggest driver to the dysfunction within
6 Q So you begin, this is a email that you wrote to 6 REI." What observations are you referring to?
7 Ed Merrens, right? 7 A Soall ofthis would have been based on
8 A Yes. 8 observations in her interactions with Leslie and
9 Q_ And "Ed, I am not including Leslie in this 9 Heather about what was going on in terms of
10 response," close quote. Why? 10 conversations, and in terms of how this
11 A __ [elected not to include her. 11 program -- observations may not have been an
12 QI bed your pardon? 12 appropriate word, but it was my interactions and
13 A_ Telected not to include her. 13 discussions with Leslie and Heather related to
14 Q_ There have been a fair number of emails which 14 the fact that Misty was the biggest issue.
15 we've identified and much more that I could pull 15 Leslie continued to say that a number of times.
16 out where you, Leslie DeMars, Heather Gunnell 16 Q_ Okay. So am I correct based upon what you just
17 are going back and forth on a ton of issues. 17 said in concluding that you had no observations
18 This is the first one I've seen that doesn't 18 of Misty Porter's behavior?
19 include her. So what happened? 19 A Yes. That's correct.
20 A I was trying to ~- I just decided that this 20 Q_ Okay.
21 would not be helpful for me to share with 21 A Thave no observations of Misty herself related
22 Leslie. 22 to this, any negative or positive.
23 Q__Inwhat respect? 23 Q Have you met her?
24 A_ It would not help our personal relationship in 24 A Yeah, I've met her a few times, but I've never
25 terms of going forward. 25 really interacted with her other than socially,
122 124
1 Q Did you expect there was going to be a personal 1 you know, hi, how are you said in a meeting.
2 relationship going forward? 2 Never been in an operating room with her, never
3 A She was the Chair and I was her administrative 3 been with a patient with her.
4 partner. As long as she was the Chair, there 4 Q_ Okay. So in terms of how she deals with
5 would be that relationship. 5 patients, her talents as the ultrasound or in
6 Q_ Were you aware of discussions as of May 12 about 6 the OR, you have no information that you can
7 the possibility of her stepping down voluntarily 7 provide about any of those today?
8 or involuntarily as the Chair? 8 A That's correct. So this is intended to be more
9 A Sol don't know exact date. Likely I was aware 9 about my interactions. Observations is again
10 that the conversations were going on, but I also 10 inarticulate. My observations or my
11 had been aware that no decision had been made. 11 interactions with Leslie and the feedback that I
12 Q_ And who was involved in those discussions? 12 get from Leslie and from Heather.
13 A That would have been Ed Merrens and Maria Padine 13 Q So tell me what Heather Gunnell said about Misty
14 and whoever else they would talk to. Perhaps 14 being a driver of dysfunction.
15 Aimee Giglio. 15 Al think, I can't quote her specifically. I
16 Q Had anyone asked your opinion, not in writing 16 would say she confirmed with Leslie and maybe
17 but some shape, matter or form, essentially, 17 gave examples that I can't rely on from a
18 Daniel, should we keep her, should she step down 18 specific standpoint regarding the fact that
19 as Chair, anything like that? 19 Misty is able to manipulate Leslie. So as an
20 A Something like that, sure. 20 example, again, I don't have specifics, but
21 Q_ And how did you weigh in? 21 Leslie and I or Leslie and Heather and I or
22 A That we could probably, that another Chair would 22 Leslie and Heather may have a conversation and
23 probably be more effective. 23 Leslie will agree on a plan of action. Once
24 Q_ Soas of this date, you'd already weighed in 24 that conversation between Leslie and Misty
25 saying we ought to get her to step down, right? 25 happens, Leslie will come back and have a

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